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                              KASOWITZ BENSON TORRES                                 LLP
                                                  1633 BROADWAY
                                                                                                    ATLANTA
                                            NEW YORK, NEW YORK 10019                               HOUSTON
      RONALD R. ROSSI                                                                            LOS ANGELES
                                                   (212) 506-1700
DIRECT DIAL: (212) 506-1947                                                                          MIAMI
DIRECT FAX: (212) 500-3447                      FAX: (212) 506-1800                                 NEWARK
    RROSSI@KASOWITZ.COM                                                                         SAN FRANCISCO
                                                                                                SILICON VALLEY
                                                                                                WASHINGTON DC




                                                                        April 27, 2020


         Via ECF and Email (LimanNYSDChambers@nysd.uscourts.gov)

         Honorable Lewis J. Liman
         United States District Judge
         United States District Court
         Southern District of New York
         500 Pearl Street, Room 701
         New York, New York 10007

                  Re:     HC2, Inc. v. Andrew Delaney, Case No. 1:20-cv-3178

         Dear Judge Liman:

                 We represent Plaintiff HC2, Inc. in this action arising from Defendant Andrew Delaney’s
         use and disclosure of confidential information in breach of both his employment agreement with
         Plaintiff, a contract attorney staffing company, and his ethical duties as an attorney. On April 22,
         2020, the Court ordered Plaintiff to “provide notice of [its ex parte] application for a temporary
         restraining order and preliminary injunction on Defendant and meet and confer with Defendant
         within 24 hours of giving notice (including weekends) on a proposed schedule for briefing and
         hearing on the application.”

                 In denying Plaintiff’s ex parte application, the Court observed that “the filing of this lawsuit
         and this Order itself should put [Defendant] on notice that future improper disclosures can be met
         with the most severe sanctions.” Pursuant to Rule 1A of your Individual Practices in Civil Cases
         and Rule 7 of your COVID-19 Emergency Individual Practices in Civil and Criminal Cases,
         Plaintiff writes to update the Court on the meet-and-confer and to request an immediate hearing to
         determine whether Defendant Andrew Delaney should be temporarily enjoined until the PI
         Application is decided on the merits.

                 After Plaintiff was able to provide Defendant with notice on April 23, the parties’ counsel
         met-and-conferred, both telephonically and in writing, on April 24, 25 and 27. Those efforts have
         reached an impasse on a mutually acceptable schedule for briefing and hearing the PI Application.
         Defendant has requested at least one month to prepare and submit his opposition to the application.
         Plaintiff agrees to that requested briefing schedule, but on the condition that, pending the Court’s
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decision on the application, Defendant stipulate that he will not take any further action to use or
disclose the confidential information he learned while employed by Plaintiff.

        Defendant declined to agree to refrain from using or disclosing such information on the
purported basis that such a stipulation could be construed as an admission of prior wrongdoing.
He continued to refuse even after Plaintiff agreed to add language expressly disclaiming that either
party was making any admissions by entering into the stipulation. As it stands, Defendant will
agree only to adhere to his post-employment obligations under his employment agreements with
HC2, and his professional obligations as an attorney. He is not, however, willing to refrain from
any further use of confidential information he learned while working on the document review at
issue, including information subject to the attorney-client and attorney work-product privileges.
Defendant’s refusal to agree can only be explained if he intends to use or disclose the very
information Plaintiff is seeking to prevent him from using or disclosing pending the hearing before
the Court which he has asked to postpone for more than a month.

       Defendant’s position is woefully insufficient. His contention -- which he refuses to
withdraw while Plaintiff’s application is pending -- is that he is not barred by his employment
agreement from using or disclosing information he learned while employed by Plaintiff and that
he was not acting as an attorney bound by the Rule of Professional Conduct. In fact, Defendant
has demonstrated that his assurances are false and worthless.

        First, a day after this Court issued its Order admonishing him, he spoke to a reporter from
Law360 and disclosed the identities of Plaintiff’s customer and its customer’s client. The
gratuitous outing of Plaintiff’s customer and its client breached numerous provisions of
Defendant’s employment agreements with Plaintiff requiring him not to divulge client information
obtained in the course of an assignment and further harmed Plaintiff which had not named its
customer and customer’s client in order to keep their names confidential.

        Second, in the article published by Law360, Defendant maintains, “he did not perform the
document review work as an attorney and, therefore, had no attorney-client relationship with the
parties.” Since Defendant appears to be operating under the indefensible and mistaken belief that
he was not working as an attorney and is not otherwise obligated to preserve attorney-client and
attorney work-product privileged information he learned on the document review, his assurances
that he will abide by what he perceives to be his professional obligations as an attorney mean
nothing.

         Third, while Defendant has dismissed without prejudice his State Court complaint, which
is replete with confidential information he learned on the document review, see Verified Complaint
¶¶ 8-9, 30-33, including information protected by the attorney-client privilege and work-product
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doctrine, there is no current restraint on his ability to refile it on the public docket in some other
jurisdiction.1

       Fourth, according to Defendant’s attorney, Defendant is contemplating initiating another
lawsuit concerning the events at issue in which he may (re)publish confidential information he
learned on the document review.

        Defendant’s refusal to refrain from any further unauthorized disclosures of the information
he obtained during the document review constitutes an on-going and immediate threat of
irreparable harm. Accordingly, Plaintiff respectfully requests that this Court set an emergency
hearing as soon as practicable to determine whether Defendant should be temporarily restrained
pending a decision on its PI Application.

                                                                      Sincerely,

                                                                      /s/ Ronald R. Rossi

                                                                      Ronald R. Rossi

cc:     Bogdan Rotman, Esq.




1
 Defendant’s disclosure on this Court’s public docket of confidential information learned during his employment
would also constitute further breaches of his employment agreements.
